                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                  )
                                          )
v.                                        ) NO. 3-12-CR-00076-4
                                          ) JUDGE CAMPBELL
ASHLEY JOHNSON                            )



                                          ORDER

       Pending before the Court is a Motion to Continue (Docket No. 158), asking the Court to

continue the plea hearing date of December 10, 2012. The December 10th date is an alternative

change-of-plea hearing date. See Docket No. 150. The pretrial conference and/or plea hearing

remain set for January 14, 2013, at 2:30 p.m. Docket No. 26. Therefore, Defendant’s Motion is

denied as moot.

       IT IS SO ORDERED.


                                                  ___________________________________
                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




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